Contract Incentive Detail - HVAC
Period : September 2023                                                                                                                         EXHIBIT B
EMPLOYEE INFORMATION

Employee                      : Stewart Swander                                                                                Job Code                   : J07683

Employee ID                   : 3116318                                                                                        Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                               (SCPJ)
Branch/Dept                   : N42 - 0000                                                                                     Plan Effective Date       : 1/3/2019

Manager                       : Patrick T McGuire                                                                              Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMARY

Contract Number                                     First Period      Cont Type   Status                   Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

0N0Q0229                                            03/01/2021        PSR         Active        $4,293,105.00    $799,058.30           4%                      $2,007.08               $1,755.38                   $251.70

1-128639067410                                      04/01/2023        L&M         Closed          $13,811.00       $6,905.29          70%                       $514.79                  $514.79                     $0.00

1-129773465379                                      07/01/2023        L&M         Closed          $24,626.00      $11,077.22          75%                       $646.22                  $646.22                     $0.00

1-130322031502                                      08/01/2023        L&M         Closed          $56,148.00      $28,411.03         100%                      $2,578.59               $2,578.59                     $0.00

1-130902337194                                      09/01/2023        L&M         Closed          $43,586.00      $13,722.11         100%                       $925.83                  $925.83                     $0.00

1N420066                                            12/01/2020        PSC         Closed          $94,645.00       $9,735.32         100%                      $1,213.91               $1,213.91                     $0.00

1N420091                                            12/01/2020        PSC         Closed          $90,000.00      $13,632.47          50%                       $711.70                  $711.70                     $0.00

1N420365                                            08/01/2021        PSR         Transferred    $187,858.00      $67,513.04         100%                      $5,279.20               $3,825.98                 $1,453.22
1N420366                                            08/01/2021        PSR         Active          $26,270.00       $6,476.13         100%                        $555.90                 $416.50                   $139.40
1N420391                                            08/01/2021        PSR         Closed         $291,649.00      $49,095.37          38%                      $1,581.03               $1,581.03                     $0.00
1N420399                                            09/01/2021        PSR         Closed         $150,949.00      $55,165.82          90%                      $3,868.56               $3,868.56                     $0.00
1N420409                                            09/01/2021        PSR         Active          $77,480.00      $30,957.87         100%                      $2,368.79               $1,702.42                   $666.37

1N420422                                            11/01/2022        PSR         Transferred    $808,739.31     $193,189.35           1%                    $13,298.80                $9,917.98                 $3,380.82

1N420423                                            11/01/2022        PSC         Active         $669,452.00     $228,264.55           4%                    $22,710.22               $18,715.59                 $3,994.63

2N420011                                            10/01/2021        PSR         Closed         $204,157.00      $98,518.49          95%                      $6,919.64               $6,919.64                     $0.00

2N420023                                            01/01/2022        PSC         Active         $253,124.00      $51,222.79         100%                      $5,162.70               $3,435.13                 $1,727.57
2N420059                                            11/01/2021        PSR         Closed          $68,221.00      $31,663.46         100%                      $2,356.62               $2,356.62                     $0.00
2N420083                                            11/01/2021        PSR         Transferred    $242,129.00     $108,537.54         100%                      $8,127.84               $5,791.57                 $2,336.27

2N420103                                            12/01/2021        PSR         Closed          $95,424.00      $45,761.47         100%                      $3,386.88               $3,386.88                     $0.00

2N420142                                            01/01/2022        Prime       Closed           $3,848.00       $1,518.05          85%                        $115.55                 $115.55                     $0.00
2N420144                                            01/01/2022        PSR         Transferred     $34,174.00      $11,245.47          47%                        $387.73                 $387.73                     $0.00
2N420150                                            01/01/2022        PSR         Closed          $74,860.00      $26,528.57          15%                        $289.65                 $289.65                     $0.00
2N420213                                            03/01/2022        PSC         Transferred    $223,889.00      $47,261.32         100%                      $3,802.13               $2,784.83                 $1,017.30

2N420220                                            03/01/2022        PSR         Active         $101,727.00      $40,265.42          88%                      $2,529.17               $1,768.89                   $760.28
2N420229                                            04/01/2022        PSC         Active         $189,127.54      $16,930.52         100%                      $1,797.74               $1,428.41                   $369.33




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Stewart Swander                                                                               Job Code                   : J07683

Employee ID                   : 3116318                                                                                       Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                              (SCPJ)
Branch/Dept                   : N42 - 0000                                                                                    Plan Effective Date       : 1/3/2019

Manager                       : Patrick T McGuire                                                                             Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                    Incentive              Date                   Incentive

2N420230                                            03/01/2022        PSR         Transferred   $155,276.00      $46,781.96          85%                      $2,973.47               $2,973.47                     $0.00

2N420234                                            04/01/2022        PSC         Closed         $30,110.00       $3,518.71         100%                       $336.84                  $336.84                     $0.00

2N420245                                            04/01/2022        PSR         Closed         $10,976.00       $4,301.50          90%                       $277.60                  $277.60                     $0.00

2N420259                                            05/01/2022        PSR         Active         $28,284.00      $14,348.60          85%                       $846.24                  $583.72                   $262.52

2N420261                                            05/01/2022        PSR         Transferred    $72,887.00      $36,672.51          90%                      $2,423.41               $1,712.98                   $710.43

2N420263                                            05/01/2022        PSR         Active         $23,782.00       $9,169.59         100%                       $659.06                  $461.68                   $197.38

2N420267                                            11/01/2022        PSR         Active        $446,918.00     $113,899.09           3%                      $7,706.08               $5,712.85                 $1,993.23
2N420275                                            05/01/2022        PSR         Transferred    $42,529.00      $18,018.54          85%                      $1,086.52               $1,086.52                     $0.00

2N420283                                            05/01/2022        PSR         Transferred      $6,780.00      $2,069.32         100%                       $154.38                  $154.38                     $0.00

2N420313                                            06/01/2022        Prime       Active        $115,676.00      $53,578.12           6%                       $291.87                  $228.58                    $63.29

2N420352                                            08/01/2022        PSR         Closed           $2,716.00      $1,021.93         100%                        $86.71                   $86.72                    $-0.01

2N420366                                            08/01/2022        PSR         Active        $101,235.00      $44,356.00          90%                      $3,175.03               $2,543.91                   $631.12
2N420367                                            08/01/2022        PSR         Transferred    $17,185.00       $7,514.81          90%                        $536.36                 $536.36                     $0.00
2N420375                                            08/01/2022        PSR         Transferred    $45,428.00      $16,463.50          90%                        $830.31                 $830.31                     $0.00
2N420403                                            09/01/2022        PSR         Active         $61,873.00      $15,115.22         100%                        $927.67                 $689.61                   $238.06

2N420404                                            09/01/2022        PSR         Transferred      $4,855.00      $1,746.94         100%                        $98.03                   $98.03                     $0.00

2N420408                                            09/01/2022        PSR         Transferred    $14,056.00       $5,538.90         100%                       $460.08                  $372.84                    $87.24

2N420409                                            09/01/2022        Prime       Transferred    $16,685.00       $7,339.20         100%                       $397.00                  $397.00                     $0.00

2N420413                                            09/01/2022        PSR         Active         $76,012.00      $29,578.31          85%                      $2,100.52               $1,544.23                   $556.29
2N420419                                            09/01/2022        PSR         Active         $62,970.00      $28,204.21         100%                      $2,213.74               $1,769.52                   $444.22
2N420423                                            09/01/2022        PSR         Active         $91,285.00      $37,078.39         100%                      $3,037.80               $2,343.20                   $694.60

2N420424                                            09/01/2022        PSR         Transferred    $58,742.00      $21,911.64          85%                      $1,037.84               $1,037.84                     $0.00

2N420431                                            09/01/2022        PSR         Transferred    $36,053.00      $16,007.19          92%                      $1,162.12                 $929.80                   $232.32

3EA80075                                            12/01/2022        PSC         Active        $444,900.00     $123,790.37          15%                      $2,805.34               $2,480.39                   $324.95


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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Stewart Swander                                                                               Job Code                   : J07683

Employee ID                   : 3116318                                                                                       Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                              (SCPJ)
Branch/Dept                   : N42 - 0000                                                                                    Plan Effective Date       : 1/3/2019

Manager                       : Patrick T McGuire                                                                             Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                     First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                    Incentive              Date                   Incentive

3N420003                                            09/01/2022        PSR         Active        $116,624.00      $50,018.80         100%                      $4,000.22               $3,212.43                   $787.79

3N420004                                            09/01/2022        PSR         Active        $106,105.00      $49,084.87         100%                      $3,800.39               $2,639.89                 $1,160.50

3N420025                                            11/01/2022        PSR         Active         $42,773.00      $16,679.91         100%                      $1,555.80               $1,189.92                   $365.88

3N420046                                            11/01/2022        PSR         Active        $977,355.00     $524,270.00         100%                    $42,706.38               $33,531.66                 $9,174.72

3N420047                                            12/01/2022        PSR         Active        $635,948.00     $278,611.08         100%                    $24,662.19               $14,910.81                 $9,751.38

3N420055                                            12/01/2022        PSR         Transferred      $2,954.00      $1,008.31         100%                       $100.25                  $100.26                    $-0.01

3N420059                                            11/01/2022        PSC         Active        $243,115.00     $133,438.23         100%                    $10,774.49                $6,104.15                 $4,670.34

3N420075                                            12/01/2022        PSR         Active        $167,293.00      $90,914.42          90%                      $6,631.92               $5,200.03                 $1,431.89

3N420093                                            02/01/2023        PSR         Active         $56,584.00      $23,427.41          85%                      $1,987.65               $1,639.17                   $348.48

3N420095                                            01/01/2023        PSC         Active        $145,721.00      $50,723.64         100%                      $4,995.21               $4,097.91                   $897.30

3N420108                                            01/01/2023        PSR         Active           $5,027.00      $2,095.84          80%                       $151.71                  $105.61                    $46.10

3N420120                                            01/01/2023        PSR         Active        $110,825.00      $44,573.03          90%                      $3,688.94               $2,986.91                   $702.03

3N420130                                            01/01/2023        Prime       Transferred      $2,982.00       $934.55           90%                        $67.67                   $67.66                     $0.01

3N420149                                            02/01/2023        Prime       Active           $4,365.00      $2,341.28           5%                        $12.12                    $9.55                     $2.57

3N420159                                            02/01/2023        PSR         Active         $14,750.25       $9,073.55           5%                        $37.91                   $29.97                     $7.94

3N420175                                            03/01/2023        PSC         Active        $252,352.00      $36,423.17          50%                      $1,604.55                 $967.14                   $637.41
3N420181                                            03/01/2023        PSR         Active         $59,435.00      $22,308.46          90%                      $2,107.13               $1,404.41                   $702.72
3N420192                                            04/01/2023        PSR         Active          $7,093.00       $2,586.65         100%                        $275.62                 $185.09                    $90.53

3N420199                                            04/01/2023        PSR         Active        $129,890.00      $62,451.96          95%                      $5,511.52               $4,283.70                 $1,227.82

3N420201                                            04/01/2023        PSR         Active          $3,585.00       $1,266.18         100%                        $137.26                  $92.94                    $44.32
3N420219                                            05/01/2023        PSR         Active         $85,698.00      $40,981.97         100%                      $3,816.62               $2,382.26                 $1,434.36

3N420226                                            05/01/2023        PSR         Active           $7,630.00      $2,540.67          40%                        $67.60                   $32.03                    $35.57




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Stewart Swander                                                                          Job Code                   : J07683

Employee ID                   : 3116318                                                                                  Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                         (SCPJ)
Branch/Dept                   : N42 - 0000                                                                               Plan Effective Date       : 1/3/2019

Manager                       : Patrick T McGuire                                                                        Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMARY

Contract Number                                     First Period      Cont Type   Status              Vol         GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                               Incentive              Date                   Incentive

3N420229                                            05/01/2023        Prime       Active       $6,871.00     $1,552.84         100%                       $115.43                   $88.26                    $27.17

3N420237                                            05/01/2023        PSR         Active     $19,537.00      $7,814.83          90%                       $714.33                  $544.12                   $170.21

3N420239                                            05/01/2023        PSR         Active       $6,883.00     $2,729.40         100%                       $278.45                  $230.69                    $47.76

3N420240                                            06/01/2023        PSR         Active    $189,094.00     $96,287.38         100%                      $8,714.44               $7,029.42                 $1,685.02
3N420241                                            08/01/2023        PSR         Active    $123,325.00     $58,077.76          85%                      $4,630.33               $2,902.52                 $1,727.81

3N420248                                            05/01/2023        PSR         Active     $10,998.00      $3,609.42         100%                       $240.96                  $114.63                   $126.33

3N420250                                            07/01/2023        PSR         Active    $195,078.00     $94,178.96         100%                      $8,732.44               $5,436.17                 $3,296.27

3N420255                                            06/01/2023        PSR         Active     $15,331.00      $6,351.24         100%                       $633.76                  $411.47                   $222.29
3N420257                                            06/01/2023        PSR         Active      $4,344.00      $1,389.99         100%                        $93.39                   $44.74                    $48.65

3N420261                                            06/01/2023        PSR         Active     $18,944.00      $7,941.98          90%                       $709.03                  $458.86                   $250.17

3N420271                                            06/01/2023        PSR         Active       $3,313.00     $1,253.60         100%                       $131.01                   $87.13                    $43.88

3N420273                                            06/01/2023        PSR         Active       $4,449.00         $0.00         100%                        $-15.48                  $-5.78                    $-9.70

3N420276                                            06/01/2023        PSR         Active       $6,308.00     $2,448.23         100%                       $252.50                  $166.81                    $85.69
3N420299                                            06/01/2023        Prime       Active       $3,938.00     $1,751.72          5%                          $9.79                    $7.88                     $1.91

3N420304                                            07/01/2023        PSR         Active     $27,390.00      $8,157.28          90%                       $502.66                  $245.70                   $256.96

3N420306                                            07/01/2023        PSR         Active      $3,964.00      $1,110.35         100%                         $77.32                  $38.46                    $38.86
3N420319                                            08/01/2023        PSR         Active     $44,618.00     $19,845.36         100%                      $1,912.52               $1,217.93                   $694.59

3N420326                                            08/01/2023        PSR         Active     $56,479.00     $18,469.32         100%                      $1,234.10                 $587.67                   $646.43

3N420347                                            09/30/2023        Prime       Active     $87,137.00     $30,497.95         100%                      $2,004.15                 $936.72                 $1,067.43

3N420353                                            09/01/2023        PSR         Active     $10,528.00      $3,684.87         100%                       $401.37                  $272.40                   $128.97

Total                                                                                                                                                  $278,825.90             $212,217.06                $66,608.88




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